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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 HENOK MENGESHA,

               Plaintiff,

        v.                                           Case No. 1:19-cv-3304 (ABJ)

 DISTRICT OF COLUMBIA, et al.,

               Defendants.


    DEFENDANTS DISTRICT OF COLUMBIA, BENIDIA RICE, JAMES KEVIN
    McINTYRE, MAGDA BENFIELD, AND YAJAIRA BRIGANTY’S MOTION TO
                         STAY DISCOVERY
       Defendants District of Columbia, Benidia Rice, James Kevin McIntyre, Magda Benfield,

and Yajaira Briganty respectfully move the Court under Fed. R. Civ. P. 16(b)(4) and 26(d)(1) to

stay discovery pending the Court’s resolution of their motions to dismiss the Amended

Complaint. A memorandum of points and authorities supporting this request accompanies this

motion. A proposed order is also attached.


Date: July 9, 2020                                 Respectfully submitted,

                                                   KARL A. RACINE
                                                   Attorney General for the District of Columbia

                                                   CHAD COPELAND
                                                   Deputy Attorney General
                                                   Civil Litigation Division

                                                   /s/ Christina Okereke
                                                   CHRISTINA OKEREKE [219272]
                                                   Chief, Civil Litigation Division Section II

                                                   /s/ Philip Medley
                                                   PHILIP MEDLEY [1010307]
                                                   Assistant Attorney General
                                                   441 Fourth Street, N.W.
          Case 1:19-cv-03304-ABJ Document 33 Filed 07/09/20 Page 2 of 6




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                                                      /s/ Matthew Trout
                                                      MATTHEW TROUT [1030119]
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                                                      matthew.trout1@dc.gov

                                                      Counsel for Defendants District of Columbia,
                                                      Benidia Rice, James Kevin McIntyre, Magda
                                                      Benfield, and Yajaira Briganty




                                 LCvR 7(m) CERTIFICATION

       Undersigned counsel certifies that on July 8, 2019, he emailed Plaintiff to seek Plaintiff’s

position on the stay requested in this motion. Plaintiff indicated that he does not consent to the

relief requested.

                                                      /s/ Matthew Trout
                                                      MATTHEW TROUT


                                 CERTIFICATE OF SERVICE

       This certifies that on July 9, 2020, undersigned counsel served a copy of the foregoing

Motion to Stay Discovery and the memorandum of points and authorities and proposed order

attached thereto on Plaintiff via email at the following address:

       arayahen@yahoo.com
                                                      /s/ Matthew Trout
                                                      MATTHEW TROUT

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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 HENOK MENGESHA,

                Plaintiff,

        v.                                             Case No. 1:19-cv-3304 (ABJ)

 DISTRICT OF COLUMBIA, et al.,

                Defendants.


 MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANTS
  DISTRICT OF COLUMBIA, BENIDIA RICE, JAMES KEVIN McINTYRE, MAGDA
    BENFIELD, AND YAJAIRA BRIGANTY’S MOTION TO STAY DISCOVERY
       Defendants District of Columbia (the District), Benidia Rice, James Kevin McIntyre,

Magda Benfield, and Yajaira Briganty (collectively, “Defendants”) seek a stay of discovery

under Fed. R. Civ. P. 16(b)(4) and Fed. R. Civ. P. 26(d)(1) pending resolution of the District’s

Motion to Dismiss the Amended Complaint [6], Defendants Rice, McIntyre, and Benfield’s

Motion to Dismiss the Amended Complaint [28], and Defendant Briganty’s Motion to Dismiss

the Amended Complaint [32]. The Amended Complaint asserts various constitutional due

process and common law claims related to the District’s enforcement of Plaintiff’s child support

obligations. Plaintiff has emailed Defendants requests for the production of documents and a

subpoena duces tecum. Because it would be wasteful of the parties’ resources to conduct

discovery pending resolution of the motions to dismiss, which are dispositive of all claims, a stay

of discovery should be granted.

       The Court may stay or modify a discovery order upon a showing of good cause. Fed. R.

Civ. P. 16(b)(4). When a fully dispositive motion is pending, courts in the District of Columbia

routinely stay discovery pending the resolution of the motion. See Sibley v. U.S. Supreme Court,
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786 F. Supp. 2d 338, 346 (D.D.C. 2011) (“[I]t is well settled that discovery is generally

considered inappropriate while a motion that would be thoroughly dispositive of the claims in the

Complaint is pending.”); Williams v. District of Columbia, 9 A.3d 484, 493 n.10 (D.C. 2010)

(observing that defendants “successfully moved to stay discovery pending a ruling on their

motion to dismiss”).

       Good cause supports this request. Defendants’ respective motions to dismiss are

dispositive of every claim against them in the Amended Complaint. Because discovery may be

unnecessary, it would be more efficient for all parties to conduct discovery after the motions to

dismiss are resolved. Moreover, Plaintiff has not yet established service on all defendants. Thus,

although Plaintiff does not consent, he would not be unfairly prejudiced by the granting of this

motion to stay discovery at this early stage.

       For these reasons, Defendants respectfully request that the Court grant this motion.


Date: July 9, 2020                                   Respectfully submitted,

                                                     KARL A. RACINE
                                                     Attorney General for the District of Columbia

                                                     CHAD COPELAND
                                                     Deputy Attorney General
                                                     Civil Litigation Division

                                                     /s/ Christina Okereke
                                                     CHRISTINA OKEREKE [219272]
                                                     Chief, Civil Litigation Division Section II

                                                     /s/ Philip Medley
                                                     PHILIP MEDLEY [1010307]
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                                  Benidia Rice, James Kevin McIntyre, Magda
                                  Benfield, and Yajaira Briganty




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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 HENOK MENGESHA,

                 Plaintiff,

          v.                                          Case No. 1:19-cv-3304 (ABJ)

 DISTRICT OF COLUMBIA, et al.,

                 Defendants.


                                            ORDER

         Upon consideration of Defendants’ Motion to Stay Discovery, any opposition and reply

thereto, the entire record herein, and for good cause shown, it is this ________ day of July 2020,

hereby

         ORDERED that Defendants’ Motion is GRANTED; and it is further

         ORDERED all discovery in this case shall be stayed pending further order of this Court.


         SO ORDERED.

                                                     _________________________________
                                                     AMY BERMAN JACKSON
                                                     United States District Judge

Copies to:

Henok Mengesha
Pro se Plaintiff

Philip Medley
Matthew Trout
Counsel for Defendants District of Columbia,
Benidia Rice, James Kevin McIntyre,
Magda Benfield, and Yajaira Briganty
